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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


BARBARA BETTS,

                   Plaintiff,

    v.

JAY E. JOHNSON; MARK                     Case No.______________
LEGARDA; MARTIN RUSSO;
MATTHEW EAST; DOUG
BONDAR; MARK BARNES;
NANCY LIVINGSTON; KENDALL
PATIENT RECOVERY U.S., LLC;
CARDINAL HEALTH, INC. and
JOHN DOE NOS. 1–10

                   Defendants.


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I.    INTRODUCTION

      Defendants Kendall Patient Recovery U.S., LLC (“KPR”), Cardinal Health,

Inc. (“Cardinal Health”), Mark Legarda, Martin Russo, Mark Barnes, and Nancy

Livingston 1 (“Moving Defendants”) file this Notice of Removal, in accordance with

28 U.S.C. §§ 1332, 1441, and 1446 to remove this action filed by Plaintiff Barbara

Betts from the Gwinnett County State Court, Case No. 23-C-01894-S6, to the United

States District Court for the Northern District of Georgia, Atlanta Division. In

support of removal, Moving Defendants state as follows:

II.   BACKGROUND

      1.    On March 22, 2023, Plaintiff filed a Renewal Complaint for Damages

(“Complaint”) in the Gwinnett County State Court, Georgia, Case No. 23-C-01894-

S6, against defendants (the “State Court Action”). A true and correct copy of the

Complaint is appended hereto as Exhibit A.

      2.    Plaintiff alleges that Barbara Betts “lived and/or worked in close

proximity to” KPR’s medical sterilization facility in Richmond County, Georgia,

which uses ethylene oxide (“EtO”) to sterilize medical equipment. (Ex. A ¶¶ 26–




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 Defendants Jay E. Johnson, Matthew East, and Doug Bondar also consent to this
Notice of Removal.


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28.) Plaintiff alleges that she was diagnosed with breast cancer as a result of her

exposure to EtO. (Id. ¶ 27.)

     3.     This action is the second-filed of sixteen renewed suits pending against

defendants by individual plaintiffs each alleging that exposure to EtO from KPR’s

facility caused them harm. The sixteen cases, all filed on March 22, 2023, are, by

filing order: (1) Lambert v. Johnson, C.A. No. 23-C-01893-S5; (2) Betts v. Johnson,

C.A. No. 23-C-01894-S6; (3) Bell v. Johnson, C.A. No. 23-C-01896-S1; (4)

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23-C-01898-S3; (6) Coleman v. Johnson, C.A. No. 23-C-01899-S4; (7) Jones v.

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C-01911-S6; (11) Williams v. Johnson, C.A. No. 23-C-01912-S7; (12) Washington

v. Johnson, C.A. No. 23-C-01913-S1; (13) Taylor v. Johnson, C.A. No. 23-C-01914-

S2; (14) Presnell v. Johnson, C.A. No. 23-C-01916-S4; (15) Smith v. Johnson, C.A.

No. 23-C-01917-S5; and (16) Knight v. Johnson, C.A. No. 23-C-01918-S6.

     4.     Plaintiff alleges that, as a result of defendants’ acts or omissions, she

suffered harm and damages, including “medical expenses, physical disability,

mental and physical pain and suffering, extreme emotional distress, and other




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damages to be proven at trial.” (See id. ¶¶ 113, 130, 145, 156, 165, 170, 196; see

also id. ¶¶ 124, 129, 139, 144, 155.)

      5.     Between late 2021 and mid-2022, multiple plaintiffs filed three EtO

cases against KPR in the U.S. District Court for the Southern District of Georgia.

(Exhibit F). Plaintiff Betts’ case was dismissed without prejudice by the Honorable

J. Randal Hall on the basis that Betts failed to allege facts sufficient to establish

Article III standing. Order Granting Motion to Dismiss, Browman v. Kendall Patient

Recovery U.S., LLC, No. 21-cv-112, at *12-13 (S.D. Ga. Sept. 23, 2022) ECF No.

37 (Exhibit C). Judge Hall also dismissed plaintiffs in the two other cases on similar

grounds. Order Granting Motion to Dismiss, Lambert ex rel. Lambert v. Kendall

Patient Recovery U.S., LLC, No. 21-cv-111 (S.D. Ga. Aug. 5, 2022) ECF No. 39 at

13 (Exhibit B); Order Granting Motion to Dismiss, Presnell v. Kendall Patient

Recovery U.S., LLC, No. 22-cv-71 (S.D. Ga. Feb. 13, 2023) ECF No. 30 (Exhibit

D).

      6.     In the renewed Complaint, Plaintiff modifies her prior claims and now

alleges that she “lived and/or worked in close proximity” to the KPR facility. (Ex.

A ¶ 26.) Notably, Judge Hall determined there was standing and reached the merits

of the EtO claims of three plaintiffs, where those plaintiffs alleged that they had

worked at or around the KPR facility. (Ex. D, ¶¶ 13–14) (“These Plaintiffs have


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claimed they worked within the designated census tract where Defendant’s facility

sits – specifically, they claim they spent years inside or around the facility itself.”)

He dismissed those cases with prejudice. For the same reasons the Southern District

of Georgia had federal subject matter jurisdiction over those cases dismissed with

prejudice, this Court has federal subject matter jurisdiction in this case because

Plaintiff now alleges that she “lived and/or worked in close proximity” to the KPR

facility (emphasis added).

     7.      Prior to bringing this suit, Plaintiff’s original federal lawsuit was only

brought against KPR, though as pled, the renewed Complaint indicates that the

newly named defendants were also known to Plaintiff, or should have been known

to Plaintiff, at the time she filed her complaint against KPR in 2021. As pleaded,

the identity and alleged conduct of the newly added defendants was publicly

available through filings and other public documents well before the initiation of

Plaintiff’s litigation in federal court. (See Ex. A ¶¶ 8–19; 95–100; 180–191.)

     8.      Plaintiff, like the other plaintiffs bringing suit against defendants,

asserts claims for negligence, public nuisance, private nuisance, ultrahazardous

activity, strict liability, Georgia RICO Act violations, punitive damages, and

attorneys’ fees and expenses, and against KPR and Cardinal for respondeat superior

and/or vicarious liability. (Id. ¶¶ 105–202.)


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       9.      In accordance with 28 U.S.C. § 1446(a), all process, pleadings, and

orders that have been filed and served in the State Court Action are attached to this

Notice as Exhibit A.

III.    REMOVAL TO THIS VENUE IS PROPER

       10.     This Court is in the judicial district and division embracing the place

where the State Court Action was brought and is pending. Therefore, this Court is

the proper district court to which this case should be removed. See 28 U.S.C.

§§ 1441(a), 1446(a).

IV.     REMOVAL IS PROPER BASED ON DIVERSITY JURISDICTION

       11.     This is a civil action over which the Court has original subject matter

jurisdiction under 28 U.S.C. § 1332(a)(1) based on diversity-of-citizenship.

Diversity jurisdiction provides courts with “original jurisdiction of all civil actions

‘between…citizens of different States’ where the amount in controversy exceeds

$75,000.” Lincoln Prop. Co. v. Roche, 546 U.S. 81, 89 (2005) (quoting 28 U.S.C.

§ 1332(a)(1)). Here, there is complete diversity between the properly joined parties

and the amount in controversy exceeds $75,000. Removal is therefore proper.

   A.        The Complete Diversity Requirement Is Satisfied.

       12.     For complete diversity to exist, “the citizenship of every plaintiff must

be diverse from the citizenship of every defendant.” Legg v. Wyeth, 428 F.3d 1317,



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1321 n.2 (11th Cir. 2005). But this rule only requires courts to determine whether

“complete diversity of citizenship exists between [] properly joined parties.” Id. at

1322 (emphasis added). Where a non-diverse party has been added to defeat

removal, that defendant’s “non-diverse status is irrelevant for the purposes of

removal analysis.” Yates v. Medtronic, Inc., No. 08-0337, 2008 WL 4016599, at *2

(S.D. Ala. Aug. 26, 2008). “Federal courts should not sanction devices intended to

prevent a removal to a Federal court where one has that right, and should be equally

vigilant to protect the right to proceed in the Federal court . . . .” Wecker v. Nat’l

Enameling & Stamping Co., 204 U.S. 176, 186 (1907). Because there is complete

diversity between the properly joined parties in this case, the requirement of

complete diversity is satisfied.

     13.       Plaintiff’s Citizenship. Plaintiff alleges that she is a citizen of Georgia.

(Ex. A ¶ 7.)

     14.       Corporate Defendants’ Citizenship. Corporate defendants, KPR and

Cardinal Health, are completely diverse from Plaintiff. A corporation is a citizen of

the state where it is “incorporated” and the state where its “principal place of

business” is located. 28 U.S.C. § 1332(c)(l). A corporation’s “principal place of

business” is “the place where a corporation’s officers direct, control, and coordinate

the corporation’s activities,” which “should normally be the place where the


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corporation maintains its headquarters.” Hertz Corp. v. Friend, 559 U.S. 77, 78

(2010).

     15.      KPR is a Delaware limited liability company. All of KPR’s members

are citizens of Ohio. Therefore, KPR is a citizen of Ohio.

     16.      Cardinal Health is an Ohio corporation with its principal place of

business in Dublin, Ohio. (Ex. A ¶ 9.) Therefore, Cardinal Health is a citizen of

Ohio.

     17.      Because KPR is a citizen of Ohio and Plaintiff is a citizen of Georgia,

complete diversity exists because no properly joined defendant is a citizen of the

same state as Plaintiff. Moreover, KPR is not a citizen of Georgia, where the action

was filed, so the requirement that “no defendant can be a citizen of the state in which

the action was brought” is also satisfied. Tillman v. R.J. Reynolds Tobacco, 253

F.3d 1302, 1305 (11th Cir. 2001) (citing 28 U.S.C. § 1441(b)). Although Cardinal

Health has not been properly named as a defendant in this case, because it is a citizen

of Ohio and not a citizen of Georgia, it also satisfies the requirements for diversity

of citizenship. Likewise, individual defendant Martin Russo is a citizen of Florida

and therefore satisfies the requirement for diversity of citizenship. As explained

further below, the Georgia citizenship of the remaining individual defendants should




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not be considered by the Court in determining whether the diversity requirements

have been met for removal because they also are not proper defendants.

        18.   Individual Defendants’ Citizenship. The Court should not consider

the citizenship of individual defendants for purposes of evaluating diversity

jurisdiction because they have not been properly joined. “When a plaintiff names a

non-diverse defendant solely in order to defeat federal diversity jurisdiction, the

district court must ignore the presence of the non-diverse defendant and deny any

motion to remand the matter back to state court. The plaintiff is said to have

effectuated a ‘fraudulent joinder,’ and a federal court may appropriately assert its

removal diversity jurisdiction over the case.” Henderson v. Washington Nat. Ins.

Co., 454 F.3d 1278, 1281 (11th Cir. 2006) (quoting Crowe v. Coleman, 113 F.3d

1536, 1538 (11th Cir. 1997)).

        19.   Mark Legarda is a citizen of Columbia County, Georgia. (Ex. A ¶ 10.)

As pled in the Complaint, Legarda is a Sterilization Manager for KPR since 2015.

(Id.)

        20.   Jay Johnson is a citizen of Columbia County, Georgia. (Id. ¶ 11.) As

pled in the Complaint, Johnson was the Environmental Health, Safety Manager for

KPR at the Augusta Facility from 2018 to 2021. (Id.)




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     21.     Martin Russo is a citizen of Jupiter, Florida. (Id. ¶ 12.) As pled in the

Complaint, Russo was the Director of Operations for KPR from 2014–2018. (Id.)

     22.     Matthew East is a citizen of Columbia County, Georgia. (Id. ¶ 13.) As

pled in the Complaint, East was the Environmental Health, Safety Manager for KPR

at the Augusta Facility from 2005 to 2018. (Id.)

     23.     Doug Bondar is a citizen of Columbia County, Georgia. (Id. ¶ 14.) As

pled in the Complaint, East was the Senior Sterilization Manager for KPR at the

Augusta Facility from 1991 through 2013. (Id.)

     24.     Mark Barnes is a citizen of McDuffie County, Georgia. (Id. ¶ 15.) As

pled in the Complaint, Barnes is the Process Specialist in the Sterilization

Department for KPR since 2009. (Id.)

     25.     Nancy Livingston is a citizen of Richmond County, Georgia. (Id. ¶ 16.)

As pled in the Complaint, Livingston is the Sterility Release Technician in the

Sterilization Department for KPR since 2012. (Id.)

     26.     Fraudulent Joinder. Where non-diverse defendants are fraudulently

joined to a complaint to prevent satisfaction of the federal jurisdictional requirement

of complete diversity, the citizenship of those non-diverse parties should be ignored.

Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353, 1355 (11th Cir.1996), overruled

on other grounds by Cohen v. Off. Depot, Inc., 204 F.3d 1069 (11th Cir. 2000). In


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the Eleventh Circuit, courts find fraudulent joinder when: “(1) there is no

possibility the plaintiff can establish a cause of action against the resident

defendant; or (2) the plaintiff has fraudulently pled jurisdictional facts to bring the

resident defendant into state court.” Pacheco de Perez v. AT&T Co., 139 F.3d

1368, 1380 (11th Cir. 1998). In this case, fraudulent joinder has occurred on both

counts.

     27.     No Possible Cause of Action Against Individual Defendants. First,

courts find fraudulent joinder where “there is no possibility that the plaintiff can

establish a cause of action against” the non-diverse defendant. Lewis v. PNC Bank,

N.A., No. 13-CV-69, 2013 WL 6817090, at *2 (N.D. Ga. Dec. 26, 2013). In

determining whether a plaintiff’s claim against non-diverse defendants is viable,

“possible” means “more than such a possibility that a designated residence can be

hit by a meteor tonight. That is possible. Surely, as in other instances, reason and

common sense have some role.” Legg, 428 F.3d at 1325 n.5. The Court looks to

“whether the plaintiff has stated an arguable claim” under state law. Davidson v.

Mortg. Elec. Registration Sys., Inc., No. 12-cv-47, 2012 WL 6971002, at *2 (N.D.

Ga. May 7, 2012). Here, Plaintiff cannot maintain a cause of action against the

individual defendants, who were added solely to defeat diversity. Thus, the Court




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should find there has been fraudulent joinder and assert removal diversity

jurisdiction over the case.

     28.     No Factual Basis for Allegations. Plaintiff’s allegations related to the

non-diverse individual defendants are devoid of any factual basis supporting claims

against these individuals, which demonstrates fraudulent joinder. See, e.g., Lewis,

2013 WL 6817090, at *2 (finding fraudulent joinder where “[p]laintiff does not allege

how [the non-diverse party] specifically committed any wrongdoing”); Baker v.

Select Portfolio Servicing, Inc., No. 12-cv-03493, 2013 WL 4806907, at *6 (N.D.

Ga. Sept. 9, 2013) (finding fraudulent joinder where “plaintiff has not provided any

specific factual basis for the claims” against the non-diverse defendants); Wilssens

v. Medtronic, Inc., No. 09-60792-CIV, 2009 WL 9151079, at *6 (S.D. Fla. July 23,

2009) (finding fraudulent joinder where plaintiff failed to demonstrate

pharmaceutical product representative should have known a product was defective,

when employee had no role in testing or research, no medical training, and the

product was approved by the FDA).

     29.     For example, Plaintiff’s ultrahazardous activity/strict liability claim

requires Plaintiff to show defendants are liable for damages flowing from an

inherently dangerous activity, despite the exercise of due care, and they have

violated a statute that establishes strict liability. (Ex. A ¶¶ 157–165); see, e.g.,


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Combustion Chems., Inc. v. Spires, 433 S.E.2d. 60, 62–63 (Ga. Ct. App. 1993);

Daniel v. Am. Optical Corp., 304 S.E.2d 383, 385 (Ga. 1983). 2 But no Georgia court

has imposed strict liability on an employee based on its employer’s allegedly

dangerous activities, especially when the employer has a government permit to

conduct the allegedly dangerous activity. See, e.g., Epstein v. Gilead Scis., Inc., 441

F. Supp. 3d 1277, 1282 (S.D. Fla. 2020) (finding no possible claim against

employees on strict liability claim because the “doctrine of strict liability does not

apply to the individual defendants”); Manley v. Ford Motor Co., 17 F. Supp. 3d

1375, 1385 (N.D. Ga. 2014) (finding fraudulent joinder where no reasonable jury

could find non-diverse defendant was liable for conduct alleged).

     30.     The newly added RICO claims against individual defendants also do

not add any specific allegations of racketeering, conspiracy, or criminal activity

against individual defendants. (Ex. A ¶¶ 171–196). The RICO allegations are

devoid of any factual allegations specific to each defendant. Instead, the RICO



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  Likewise, no non-diverse individual defendant could be liable for negligence based
on Plaintiff’s theory that they breached their duty by “[u]sing EtO as part of [KPR’s]
sterilization process when safer alternatives could accomplish the same or similar
business purposes without presenting the same level of risk to human health and
well-being.” (Ex. A ¶ 111.) Plaintiff has not alleged that any of the non-diverse
individual defendants had the authority to determine what chemicals or process was
used to sterilize medical equipment at the KPR facility.


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allegations repeat the basic elements of a RICO action and attempt to tie the elements

of the RICO action to vague claims of wrongdoing and the generic, unrelated

conduct of defendants that plaintiffs’ counsel has been able to identify from the

public record (i.e., the employees reported emissions data on behalf of KPR). At

most, Plaintiff pleads that defendants did their jobs, but such allegations are not

nearly enough to plead the individual defendants misled anyone or engaged in a

RICO conspiracy. Particularly relevant here, a plaintiff “may not plead the existence

of a RICO enterprise between a corporate defendant and its agents or employees

acting within the scope of their roles for the corporation because a corporation

necessarily acts through its agents and employees.” Eckart v. Allstate Northbrook

Indem. Co., No. 22-CV-281, 2012 WL 2143465 at *5 (N.D. Ga. Feb. 17, 2023),

quoting Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1357 (11th Cir. 2016) (internal

quotations omitted).     Plaintiff fails to plead a plausible RICO claim against

individual defendants.

     31.     Plaintiff’s Claims against Individual Defendants Are Time-Barred.

Plaintiff’s claims against the individual defendants also cannot succeed because they

are barred by the two-year statute of limitations that applies to personal injury actions

under O.C.G.A. § 9-3-33. Where, as here, the case against individual defendants is

barred by the applicable statute of limitations, courts ignore the citizenship of those


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fraudulently joined defendants. See Ritchey v. Upjohn Drug Co., 139 F.3d 1313,

1320 (9th Cir. 1998) (finding that plaintiff’s failure to identify claims within statute

of limitations against non-diverse defendants “demonstrates beyond peradventure

that they were sham defendants for purposes of removal”); Russell Petroleum Corp.

v. Environ Prods, Inc., 333 F. Supp.2d 1228, 1233 (M.D. Ala. 2004) (“When the

plaintiff’s claims against a resident defendant are barred by the statute of limitations,

there is no possibility the plaintiff can establish a cause of action against the resident

defendant, and thus the resident was fraudulently joined.”) (internal citations

omitted). 3

     32.      Here, Plaintiff alleges that notwithstanding the prior dismissal of the

prior complaints in the Southern District of Georgia, “Plaintiff’s claims in the

present action are the same claims based on the same facts and circumstances as the

original action.” (Ex. A. ¶ 3.) In a “Statute of Limitations” section added to the

refiled    Complaint,    Plaintiff   vaguely     alleges    defendants     engaged     in

“misrepresentation and concealment” and claims that ‘[t]hese facts were not


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 See also Shaffer v. Nw. Mut. Life Ins. Co., 394 F. Supp. 2d 814 (N.D. W. Va. 2005)
(holding that because one-year statute of limitations had run on cause of action
against non-diverse defendant, defendant was fraudulently joined); Jabour v. Life
Ins. Co. of N. Am., 362 F. Supp. 2d 736, 744 (S.D. Miss. 2005) (holding there was
“no reasonable basis” for adding non-diverse defendants where claims were time-
barred).


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discovered until recently.” (Ex. A. ¶ 23.) But Plaintiff has not specifically identified

any of the defendants’ alleged conduct that occurred “recently” or has “recently”

been discovered by Plaintiff within the two-year limitations period. (Ex. A. ¶¶ 77–

100; 180–193.) The new allegations against individual defendants appear to be

based on publicly available information, all of which was readily available to

Plaintiff (and Plaintiffs’ Counsel) for years prior to filing in federal court in 2021.

Id. Plaintiff’s claims against the individual defendants are therefore barred by the

two-year statute of limitations for personal injury claims.

     33.     Plaintiff Provides no Basis for the Late Addition of Individual

Defendants. The prior Southern District of Georgia actions were brought solely

against KPR. (Ex. F.) If they were legitimate parties, the individual defendants could

have and would have been identified through publicly available information prior to

filing suit against KPR, and would have been named in Plaintiff’s original federal

complaint. See LeBlang Motors Ltd. v. Subaru of Am. Inc., 148 F.3d 680, 692 (7th

Cir. 1998) (upholding district court’s determination that individual defendants were

fraudulently joined where plaintiff had a duty to identify claims against these

defendants at the same time as the original claims were brought against corporate

defendants). But here, as in LeBlang, the individual defendants in this case were not

identified at the time of filing. Instead, they were fraudulently joined years later in


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an attempt to defeat diversity jurisdiction and avoid litigation of these cases in federal

court, where the previously filed cases have already been dismissed. 4 “The removal

process was created by Congress to protect defendants. Congress ‘did not extend

such protection with one hand, and with the other give plaintiffs a bag of tricks to

overcome it.’” Legg, 428 F.3d at 1325.

    B.      The Amount in Controversy Requirement Is Satisfied. 5

     34.       For this requirement for diversity jurisdiction to be satisfied, a

defendant need only make “a plausible allegation that the amount in controversy

exceeds the jurisdictional threshold” and that allegation “should be accepted when

not contested by the plaintiff or questioned by the court.” Dart Cherokee Basin

Operating Co., LLC v. Owens, 135 S. Ct. 547, 553–54 (2014). In evaluating the

allegation for plausibility, courts should “use their judicial experience and common

sense” in determining whether the amount-in-controversy is satisfied.             Roe v.


4
 Indeed, the specific claims pleaded against defendants by plaintiffs appear to have
been modeled after the claims successfully kept in state court against Becton,
Dickinson & Company in Gwinnett County. See McLendon v. Becton, Dickinson &
Co., No. 20-cv-04671, 2021 WL 6752200 (N.D. Ga. Feb. 11, 2021).
5
  The amounts set forth in this Notice of Removal are solely for purposes of
establishing that the amount in controversy exceeds the $75,000 amount-in-
controversy threshold and are not intended and cannot be construed as an admission
that Plaintiff can state or has stated a claim that she is entitled to damages in any
amount. Defendants deny liability and do not concede that Plaintiff is entitled to
recover any amount.


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Michelin N. Am., Inc., 613 F.3d 1058, 1061–62 (11th Cir. 2010). Courts may

consider compensatory, statutory, and punitive damages. See Holley Equip. Co. v.

Credit All. Corp., 821 F .2d 1531, 1535 (11th Cir. 1987). “[U]nless recovery of an

amount exceeding the jurisdictional minimum is legally impossible, the case belongs

in federal court.” McDaniel v. Fifth Third Bank, 568 F. App’x 729, 732 (11th Cir.

2014) (citation omitted). Even when the plaintiff, as here, makes no allegation about

the amount in controversy, “it may be facially apparent from the pleading itself” that

the requirement is satisfied. Roe, 613 F.3d at 1061 (internal quotations omitted).

       35.     Despite the absence of specific allegations regarding the amount in

controversy, it is facially apparent from the Complaint that the amount in

controversy exceeds $75,000. Plaintiff alleges that she “was diagnosed with breast

cancer as a result of substantial chronic exposure to carcinogens [allegedly] emitted

from Defendants’ facility.” (Ex. A ¶ 27.) Under seven different legal theories, 6

Plaintiff alleges that she suffered damages in the form of “medical expenses,

physical disability, mental and physical pain and suffering, extreme emotional

distress, and other damages as can be proven at a trial.” (Id. ¶¶ 113, 130, 145, 156,

165, 170, 196.) She further alleges that she is entitled to punitive damages, along



6
    There appears to be no Count VI in the Complaint. (See Ex. A.)


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with attorneys’ fees and costs. (Id. ¶¶ 197–199, 202.) And she requests treble

damages based on Georgia RICO law. (Id. at 41.)

     36.       When Plaintiff originally sought relief in federal court for these injuries,

she alleged that “the amount in controversy exceeds $75,000.” (Ex. F ¶ 9.) Plaintiff

does not and cannot plausibly allege that the amount in controversy in this renewal

action has fallen below $75,000 since her action in federal court was dismissed for

failure to plead a plausible controversy and her renewal of the same action in state

court.

     37.       In other cases where a plaintiff has alleged claims for serious personal

injury or death, courts in the Eleventh Circuit routinely find that the amount in

controversy requirement is satisfied. See, e.g., Travelers Prop. Cas. Co. of Am. v.

Eastman Kodak Co., No. 16CV00465, 2016 WL 11491579, at *3 (M.D. Fla. Aug.

1, 2016) (“Given that these claims are based on [plaintiff’s] severe personal injuries

and death, the Court is ‘hard-pressed to conclude that if liability was

established…there is any possibility the damages would be less than $ 75,000.’”);

Gates v. 84 Lumber Co., No. 15-0076, 2015 WL 2345427, at *1 (S.D. Ala. May 14,

2015) (“While it may be theoretically possible that a demand for damages for

disability, disfigurement, lung cancer, great physical pain, great mental anguish,

large medical bills and large amounts of lost income places less than $75,000 in


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controversy, the plaintiff’s allegations and interrogatory response, combined with

the reasonable deductions, inferences and extrapolations therefrom and viewed

through the lens of judicial experience and common sense, make it abundantly clear

that Pneumo Abex has demonstrated by a preponderance of the evidence that the

amount in controversy exceeds the jurisdictional threshold.”).

     38.    Accordingly, Defendants have sufficiently demonstrated that the

amount in controversy exceeds $75,000.

V.    ALL OTHER REQUIREMENTS FOR REMOVAL HAVE BEEN MET

     39.    This Notice is Timely.       This removal is timely because Moving

Defendants filed this removal within 30 days of Plaintiff’s service of the Complaint

on any defendant. See 28 U.S.C. § 1446(b) (notice of removal shall be filed within

30 days of service of complaint); Murphy Bros. v. Michetti Pipe Stringing, Inc., 526

U.S. 344, 348–349 (1999) (time period for removal begins when defendant is

served).

     40.    Consent to Removal. All Defendants have consented to removal as

required based on diversity jurisdiction. 28 U.S.C. § 1446(b); 28 U.S.C. § 1332(a),

attached hereto as Exhibit E.

     41.    Notice of Removal. As required by 28 U.S.C. § 1446(d), Moving

Defendants are providing written notice of the filing of this Notice of Removal to



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Plaintiff and are filing a copy of this Notice of Removal with the Clerk of the

Gwinnett County State Court, Georgia.

    42.      State Court File. As required by 28 U.S.C. § 1446(a), a copy of all

documents filed in the state court action are attached hereto as Exhibit A.

      WHEREFORE, Defendants remove the State Court Action from the Gwinnett

County State Court, to the United States District Court for the Northern District of

Georgia.

                           Signatures on following page




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Respectfully submitted, this 11th day of April, 2023.

                                 BAKER & HOSTETLER LLP

                                 /s/ William Ezzell

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                                 Martin Russo, Mark Barnes and Nancy
                                 Livingston




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                         RULE 7.1(D) CERTIFICATE

      The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.

      This 11th day of April, 2023.

                                      /s/ William Ezzell
                                      Georgia Bar No. 297641




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                        CERTIFICATE OF SERVICE

      I hereby certify that on this day, I caused a true and correct copy of the

foregoing Notice of Removal to be electronically filed with the Court using

CM/ECF and electronic mail, addressed as follows:

Darren W. Penn
William L. Ballard
John D. Hadden
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      This 11th day of April, 2023.

                                      /s/ William Ezzell
                                      Georgia Bar No. 297641




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